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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF PUERTO RICO

IN RE:
JUAN CARLOS PRADO NICASIO                                      CASE NO. 19-06224 MCF
         Debtor                                                CHAPTER 13

JUAN CARLOS PRADO NICASIO                                      ADVERSARY NO. 19-462

Plaintiff
Vs.
DIONISIO BENITEZ RODRÍGUEZ ALSO D/B/A
FERRETERÍA MONTALVO;
FERRETERÍA MONTALVO INC.
MARILIN PRADO NICASIO
BANCO POPULAR DE PUERTO RICO

Defendants



              MOTION IN COMPLIANCE OF ORDER AND REQUEST FOR
                         ISSUANCE OF NEW SUMMONS

TO THE HONORABLE COURT:
COMES NOW Plaintiff, through the undersigned attorney and very respectfully STATES
and PRAYS as follows:
1.       After an intensive search of the summons that where executed in the instance case,
we have been unable to find the evidence to submit them for the record.
2.       As this Honorable Court can take notice, with one of the Defendants, Banco Popular
who was served together with the other defendants, we reached an agreement that this
Honorable Court approved.
3.       We have been in touch with sister counsel Lizzette Morales, who is the counsel of
Defendants Ferreteria Montalvo and Dionisio Benitez in the Bankruptcy proceeding. Ms.
Morales informed us that has not file appearance as counsel of record in this adversary
because the complaint and summons of her client were sent to a wrong address. Ms.
Morales informed us that, as soon it is resend to the correct address as appears in the
Bankruptcy records, they will make the appearance in the instance case.
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4.     As also informed to this Court, we have been in very active with the prosecution of
the case because defendants Benitez and Ferreteria Montalvo thru their counsel in
coordination with the undersigned has already visited the property with an appraisal and we
are waiting the results for a possible agreement.
5.     We request to this Honorable Court to allow the issuance of new summons in this
case to execute them immediately, because the purpose of this adversary is pivotal for the
confirmation of the Chapter 13 in the confirmation proceedings.
WHEREFORE, Debtor/Plaintiff respectfully prays that this court take notice of the
information herein stated and the order compliance and therefore allow and order the
issuance of new summons for all Defendants in the instance case.
                               CERTIFICATE OF SERVICE
I HEREBY CERTIFY: That on this same date I electronically filed the above document with
the Clerk of the Court using the CM/ECF System which sends a notification of such filing to
attorney Eduardo Veray, Esq. of Banco Popular. I further certify that I have served this
document by electronic means to the CM/ECF participants and or a true and correct copy
by regular mail to the non CM/ECF participants and to all creditors and parties with interest.
RESPECTFULLY SUBMITTED.
In San Juan, Puerto Rico, this June 30, 2020.


                                           /s/Ada M. Conde
                                           ADA M. CONDE, ESQ.
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